AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                        Eastern District of North Carolina

              UN ITED STATES OF AMER1CA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.

                                                                                   Case Number: 4:24-CR-2q-1 M
               ERNEST RUSSELL EARLY, JR.
                                                                                   USM Number:             14727-511

                                                                                     Thomas Reston Wilson
                                                                                   Defendant' s Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)            1, 2, 3 of Indictment
D pleaded nolo contendere to coun t(s)
   which was accepted by the court.
D was fo und guilty on count(s)
   after a plea of not guilty .

The defendant is adj udicated guil ty of these offenses:

Title & Section                   Nature of Offense                                                           Offense Ended              Count
18 U.S.C. § 1951                   Interference With Commerce by Robbery                                       8/19/2023




       The defendant is sentenced as provided in pages 2 through          _ _8_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not gui lty on count(s)
~ Count(s)                                                         ~ are dismissed on the motion of the United States.
                -4-
                  and 5
                    - - - - - - - - - - - Dis
         It is ordered that the defendant must notify the United States attorney for th is district within 30 days of any change of name, residence,
or mailing address until all fines , restitution, costs, and special assessments imposed by this judgment are fully paid . lfordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                             3/27/2025


                                                                                                     z:_

                                                                                   Richard E. Myers II, Chief United States District Judge
                                                                          Name and Title of Judge




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                         Sheet I A
                                                                                                       Judgment-Page _ _ of _ _ __
DEFEN DANT: ERNEST RUSSELL EARLY, JR.
CASE N UMBER: 4:24-CR-25-1M

                                             ADDITIONAL COUNTS OF CONVICTION

Title & Section                    Nature of Offense                                               Offense Ended     Count
18 U.S.C. § 924(c) ,                Brandishing a Firearm in Furtherance of a Crim e of Violence    8/19/2023         2

18 U.S.C. § 924(c)(1)(A)(ii)



21 U.S.C. § 841(a)(1 ),             Possession With Intent to Distribute a Quantity                 12/8/2023         3

21 U.S.C. § 841(b)(1 )(C)           of a Mixture and Substance Containing Fentanyl




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AO 2458 (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page     3   of   8
 DEFENDANT: ERNEST RUSSELL EARLY, JR.
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                                                           IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 132 months imprisonment (48 months on counts 1 and 3; concurrent and 84 months on count 2; consecutive)




      ~ The court makes the following recommendations to the Bureau of Pri sons :

           The court recommends : Most intensive substance abuse treatment, Vocational training/educational opportunities to include
           CDL, Mental health assessment and treatment, Physical health evaluation and treatment, Placement at FCI Enfield , SC .



      !ill The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
           D at                                  D a.m .     D p.m.       on
                     ----------
           D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before 2 p.m. on
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                       to

 at _ _ __ __ _ _ _ _ _ _ _ _ __ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL




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                       Sheet 3 - Supervised Release
                                                                                                         Judgment- Page _ _ _ of _ _ _ __
DEFENDANT: ERNEST RUSSELL EARLY, JR.
CASE NUMBER: 4:24-CR-25-1M
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you wi ll be on supervised release for a term of:

 5 years (3 years on counts 1 and 3 and 5 years on count 2; all terms to run concurrently)




                                                      MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controll ed substance.
3.    You must refrain from any unlawful use of a contro lled substance. You must submit to one drug test within IS days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                0 The above drug testing condition is suspended, based on the court's determination that you
                     pose a low risk of future substance abuse. (check ifapplicable)
4.     !ill' You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authori zing a sentence of
             restitution. (check if applicable)
5.     li1 You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S .C. § 2090 1, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D Yo u must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                        Sheet 3A - Supervised Release
                                                                                                Judgment-Page                  of - - - - - -
DEFENDANT: ERNEST RUSSELL EARLY, JR.
CASE NUMBER: 4:24-CR-25-1M

                                        ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they estab li sh the basic expectations for yo ur behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
       frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about yo ur work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony , you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13 .   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www. usco urts.gov .


Defendant's Signature                                                                                      Date _ _ _ _ _ _ _ _ _ _ _ __




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AO 245B (Rev . 09/ 19)   Judgment in a Criminal Case
                         Sheet 30 - Supervised Rel ease

                                                                                            Judgment- Page ___Q__ of       8
DEFENDANT: ERNEST RUSSELL EARLY, JR.
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                                            SPECIAL CONDITIONS OF SUPERVISION

 The defendant shall participate as directed in a program approved by the probation office for the treatment
 of narcotic addiction, drug dependency, or alcohol dependency which will include urinalysis testing or
 other drug detection measures and may require residence or participation in a residential treatment facility.

 The defendant shall participate in a program of mental health treatment, as directed by the probation office.

 The defendant shall submit to a search , at any time , with or without a warrant, and by any law enforcement or probation
 officer, of the defendant's person and any property, house, residence, vehicle , papers, computer, other electronic
 communication or data storage devices or media, and effects upon reasonable suspicion concerning a violation of a
 condition of supervised release or unlawful conduct by the defendant, or by any probation officer in the lawful discharge of
 the officer's supervision functions . The court notes that Fourth Circuit precedent may require that a probation officer have
 some particularized suspicion to render certain searches lawful , and the court imposes lawful searches.

 The defendant shall participate in a vocational training program as may be directed by the probation office.

 The defendant shall support his dependent(s) .

 The defendant must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute
 authorizing a sentence of restitution.

 The defendant shall not incur new credit charges or open additional lines of credit without approval of the
 probation office.

 The defendant shall provide the probation office with access to any requested financial information .

 If the defendant has any unpaid amount of restitutions , fines , or special assessments, the defendant shall
 notify probation office of any material change in economic circumstances that might affect the defendant's
 ability to pay.




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AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                              Judgment -   Page       7    of        8
 DEFENDANT: ERNEST RUSSELL EARLY, JR.
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                                                 CRIMINAL MONETARY PENALTIES
        The defendant must pay the total cri minal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment            Restitution                   Fine                       AV AA Assessment*              JVT A Assessment**
 TOTALS             $   300.00               $ 1,500.00                 $                          $                              $



 D The determination of restitution is deferred until - - - - -. An Amended Judgment in a Crim inal Case (AO 245C) will be
        entered after such determination.

 ~ The defendant must make restitution (including community restitution) to the fo llowing payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                     Total Loss ***                  Restitution Ordered            Priority or Percentage
   Falkland Mini Mart                                                              $1 ,500.00




 TOTALS                                $                        1,500.00            $                        0.00
                                                                                        ----------

 D       Restitution amount ordered pursuant to plea agreement $

 D       The defendant must pay interest on restitution and a fine of more than $2,500, un less the restitution or fine is paid in full before the
         fifteent h day after the date of the judgment, pursuant to I 8 U.S.C. § 36 12(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U .S.C. § 36 I 2(g).

 fiZ!    The court determined that the defendant does not have the abil ity to pay interest and it is ordered that:

         liZl the interest requirement is waived for the          D fine      fiZ! restitution .
         D the interest requirement for the          D     fine      D restitution is modified as fo llows:

 * Amy, Vicky, :1nd Andy Child Pornograph_y Victim Assistance Act of 2018, Pub. L. No. I 15-299.
 ** Justice for victims of Trafficking Act of 20 15, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters I 09A, 110, 11 OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.




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AO 2458 (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

                                                                                                                      Judgment -   Page _lL_ of               8
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                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      D Lump sum payment of$                                       due immediately , balance due

                D    not later than                                       , or
                D    in accordance with      D C,         D D,       D     E,or       D F below; or
 B      E1'.l   Payment to begin immediately (may be combined with                 DC,          D D,or        0 F below); or

 C      D Pay ment in equal             _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                               (e.g. , months or years) , to commence _ _ _ _ _ (e.g. , 30 or 60 days) after the date of this judgment; or

 D      D Payment in equal             _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ __ _ over a period of
                              (e.g. , months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
                term of supervision ; or

 E      D Payment during the term of supervised release wi ll commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
                imprisonment. The court will set the payment pl an based on an assessment of the defendant' s abi lity to pay at that time; or

 F      fll     Special instructions regarding the payment of criminal monetary penalties:
                The special assessment shall be due in full immediately. Payment of restitution shall be due and payable in full immediately. However, if the
                defendant is unable to pay in full immediately, the special assessment and restitution may be paid through the Inmate Financial
                Responsibility Program (IFRP). The court orders that the defendant pay a minimum payment of $25 per quarter through the IFRP, if available.
                The court, having considered the defendant's financial resources and ability to pay, orders that any balance still owed at the tim e of release
                shall be paid in installments of $50 per month to begin 60 days after the defendant's release from prison. At the time of the defendant's release ,
                the probation officer shall take into consideration the defendant's ability to pay the restitution ordered and shall notify the court
                of any needed modification of the payment schedule.

 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment ofcriminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed .




 D      Joint and Several

        Case Number
        Defendant and Co-Defendant Names                                                          Joint and Several                  Corresponding Payee,
        (including defendant number)                            Total Amount                           Amount                            if appropriate




 D      The defendant shall pay the cost of prosecution.

 D      The defendant shall pay the fo llowing court cost(s):

 l;ZI   The defendant shall forfeit the defendant's interest in the following property to the United States:
        the defendant's interest in the property specified in the Preliminary Order of Forfeiture entered on August 21 , 2024.



 Payments shall be applied in the following order: ( I) assessment, (2) restitution principal, (3) restitution interest, (4) AV AA assessment,
 (5) fine principal, (6) fin e interest, (7) community restitution , (8) JV TA assessment, (9) penalties, and ( 10) costs, including cost of
 prosecution and court costs.




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